LANE-WELLS COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  TECHNICRAFT ENGINEERING CORPORATION, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Lane-Wells Co. v. CommissionerDocket Nos. 99829, 99830.United States Board of Tax Appeals43 B.T.A. 463; 1941 BTA LEXIS 1495; January 31, 1941, Promulgated *1495  1.  Amounts constituting 15 percent of the gross receipts of certain corporations from gun perforation of oil wells received by the taxpayer corporation, more than 50 percent of whose stock was owned by not more than 5 individuals, in return for the use of from 85 to 100 of the taxpayer's patents and applications, of which 7 or 8 patents related to gun perforation, held to be "royalties" within section 351(b)(1) of the Revenue Acts of 1934 and 1936 and section 353 of the Revenue Act of 1936, as amended by section 1 of the Revenue Act of 1937, and the taxpayer corporation held to be a "personal holding company" within section 351(b)(1) of the Revenue Acts of 1934 and 1936 and section 352(a) of the Revenue Act of 1936, as amended, and subject to surtax under section 351(a) of the Revenue Acts of 1934 and 1936 and section 351 of the Revenue Act of 1936, as amended.  2.  The four stockholders of the taxpayer corporation, more than 80 percent of whose gross income was personal holding company income within section 353 of the Revenue Act of 1936, as amended by section 1 of the Revenue Act of 1937, signed a reorganization agreement in the first half of the taxable year, whereby*1496  a new corporation to be formed was to issue its stock in exchang for the stock of several corporations owned by the four stockholders of the taxpayer.  During the last half of the year the new corporation secured a permit authorizing it to issue its stock and issued the stock and the taxpayer corporation transferred its assets to the new corporation and filed a certificate of winding up and dissolution.  Held, the requirement that "at any time during the last half of the taxable year" more than 50 percent of the taxpayer's stock be owned by not more than five individuals had been met and the taxpayer was a "personal holding company" within section 352(a) of the Revenue Act of 1936, as amended.  3.  A personal holding company which distributed in liquidation, pursuant to a tax-free reorganization under section 112(b)(6) of the Revenue Act of 1936, amounts representing earned surplus chargeable to earnings and profits accumulated subsequent to February 28, 1913, held, entitled to a dividends paid credit for such amounts under section 27(f) of the Revenue Act of 1936 without limitation by subsection (h) in determining its surtax on undistributed profits and its personal holding*1497  company surtax for 1937.  Credit Alliance Corporation,42 B.T.A. 1020"&gt;42 B.T.A. 1020, followed.  4.  Petitioner Technicraft Engineering Corporation filed its income and excess profits tax returns for 1934 and 1935 on Form 1120 within the time required by law.  The taxpayer, in good faith, believed that it was not a personal holding company and filed no return as a personal holding company on Form 1120 H, as required by law and Treasury regulations.  Taxpayer's income and excess profits tax returns filed on Form 1120 made a full disclosure of its gross income and deductions and its resulting net income.  Held, since the taxpayer failed to file a return as a personal holding company on Form 1120 H as required by law and Treasury regulations, the period of limitations prescribed by section 275(a), Revenue Act of 1934, has not run so as to bar the assessment of deficiencies in personal holding company surtaxes for the years 1934 and 1935.  5.  A personal holding company filed income and excess profits tax returns for 1934, 1935, 1936, and 1937 on Form 1120 within the time required by law, in which a full disclosure was made of its gross income and deductions and resulting net*1498  income, but failed to file personal holding company returns on Form 1120 H for those years.  Held, the imposition of 25 percent delinquency penalties is mandatory under the applicable revenue acts and the Treasury regulations promulgated in pursuance thereof.  Raphael Dechter, Esq., for the petitioners.  E. A. Tonjes, Esq., and Alva C. Baird, Esq., for the respondent.  BLACK *464  The Commissioner determined deficiencies in personal holding company surtax and penalties for the years 1934, 1935, 1936, and 1937 against the Technicraft Engineering Corporation, and against the Lane-Wells Co., as transferee, as follows: SurtaxPenalty1934$3,178.80$794.7019359,474.532,368.6319365,115.111,278.78193740,992.0510,248.01The Commissioner also determined an overassessment of $21.82 in income tax for 1936 and a deficiency of $1,196.80 in income tax for 1937 of the Technicraft Engineering Corporation and Lane-Wells Co., as transferee.  The petitions of the petitioners assign errors as follows: (a) The Commissioner erred in determining that petitioner was a "personal holding company" for each of the years*1499  1934 to 1937 inclusive.  (b) The Commissioner erred in failing to determine that the amounts of petitioner's income designated "royalties" were in fact compensation for tangible services rendered to affiliated corporations and as such did not constitute "personal holding company" income.  (c) The Commissioner erred in determining that the failure of petitioner to file Form 1120-H for each of the years 1934 to 1937 inclusive was not due to reasonable cause.  (d) The Commissioner erred in asserting penalties of 25% of the surtax on personal holding companies for delinquency in filing Form 1120-H for each of the years 1934 to 1937 inclusive.  (e) The Commissioner erred in failing to determine that the period for assessment of any deficiency or penalty in respect of the 1934 income of petitioner had expired prior to the issuance of the deficiency notice.  *465  (f) The Commissioner erred in failing to determine that the period for assessment of any deficiency or penalty in respect of the 1935 income of petitioner had expired prior to the issuance of the deficiency notice.  (g) In determining the liability of petitioner for surtax on undistributed profits and for surtax*1500  on personal holding companies in respect of its 1937 income, the Commissioner erred in not allowing a "dividends paid credit" for amounts distributed during 1937 in final and complete liquidation of petitioner.  (h) The Commissioner erred in failing to determine that there was an overassessment of surtax on undistributed profits against petitioner for 1937 of $10,248.87.  (i) The Commissioner erred in failing to determine that the income and deductions reported by petitioner [Technicraft Engineering Corporation] for the period from June 1, 1937 to August 31, 1937, in fact constituted income and deductions of Lane-Wells Company, the successor corporation and not income and deductions of petitioner.  (j) The Commissioner erred in failing to determine that there was an overassessment of normal income tax against petitioner for 1937 of $7,483.16.  (k) The Commissioner erred in failing to recognize that by his past acts and conduct he is estopped from asserting any claim of liability against petitioner for surtax on personal holding companies or penalties thereon.  FINDINGS OF FACT.  Petitioner Technicraft Engineering Corporation, hereinafter called Technicraft, a California*1501  corporation with its principal office in Los Angeles, was organized in December 1932, but remained inactive until March 1, 1934.  Petitioner Lane-Wells Co., a Delaware corporation with its principal office in Los Angeles, was organized in 1937.  The Lane-Wells Co., a California corporation, hereinafter called Lane-Wells Co. of California, was organized in March 1932.  In that year it began selling packers, swabs, and swab rubbers as merchandise and sought to find new products that could be sold in the oil industry as merchandise or in the form of a service.  In June 1932 it began work on a gun perforator to be used in oil fields and organized Technicraft for the purpose of doing engineering and experimental research.  On December 21, 1932, the Lane-Wells Co. of California obtained from Sidney W. Mims, under an exclusive license agreement, an exclusive license to use and sell devices embodying an invention for perforating well casing for which Patent No. 1,582,184, dated April 27, 1926, had been issued to Mims.  Under the agreement the Lane-Wells Co. of California was to pay $100 per month until March 1, 1934, and $200 per month thereafter.  On March 1, 1934, the Lane-Wells Co. of*1502 California executed an assignment of exclusive license agreement, transferring to Technicraft its right to the exclusive license.  On the same date Technicraft executed a sublicense agreement granting to the Lane-Wells Co. of California, in consideration of the royalty hereinafter provided", a sublicense restricted to the State of California and including "any and all rights, privileges and remedies which it [Technicraft] might *466  or could do, exercise or perform" under the assignment of exclusive license agreement.  The sublicense agreement further provided, in part: In consideration of the granting of said sub-license, said Lane-Wells Co., as sub-licensee, does hereby agree to pay to the Technicraft Engineering Corporation, as sub-licensor, a royalty of fifteen (15%) per cent of any and all gross receipts derived from the manufacture, sale, rental or use of any device of any kind by virtue of this sub-license agreement, such royalty to be payable on the 20th day of each and every month for the royalties accruing for the month previous.  * * * On February 13, 1936, Technicraft executed a license agreement granting to the Lane-Wells Co. of Oklahoma, an Oklahoma corporation, *1503  having a place of business at Oklahoma City, Oklahoma: * * * a non-exclusive license in and throughout the States of Oklahoma, Kansas, Wyoming, Colorado, and Montana only, subject to the terms and conditions of this agreement, to make or purchase for the Licensee's own use only, and to use but not to sell, rent, or lease to others said PERFORATORS.  The license agreement also provided, in part: I.  DEFINITIONS: The term "PERFORATORS" shall be construed to mean not only the patent specifically mentioned hereinbefore, but also any and all inventions, applications, patents and any continuations, divisions, and/or reissues thereof and whether in the nature of apparatus or processes which the Licensor now owns or controls or which it may at any time during the life of this agreement own or control and which relate or are accessories to said PERFORATORS.  The term "PATENT RIGHTS" shall be construed to embrace as a group all the patents and applications herein specified or referred to or implied.  The term "gross receipts" shall be construed to mean the total receipts derived in any manner whatsoever from the manufacture and/or use of any and all apparatus or processes covered by*1504  said PATENT RIGHTS without deductions of any kind or character.  * * * IV.  ROYALTIES: The royalty payments on the PATENT RIGHTS herein licensed shall be fifteen percent (15%) of the gross receipts; minimum royalties shall be not less than Seven Hundred and Fifty Dollars ($750.00) per month.  * * * VII.  IMPROVEMENTS BY LICENSEE: Licensee shall disclose to Licensor all inventions, applications, patents, or continuations, divisions and/or reissues dominated by the PATENT RIGHTS HEREIN DEFINED which the Licensee may now own or control during the life of this agreement, or which may be jointly or solely invented by any officer, executive, agent, or employee of the Licensee; it being understood that the Licensee shall, upon execution of this agreement, enter into the necessary agreements with its officers, executives, agents and employees to give effect to this section.  Under disclosure of such inventions, applications, patents, or continuations, divisions and/or reissues, dominated by the patent rights, the Licensor shall have a forty-five (45) day option period to accept and incorporate the same with the patent rights herein licensed; and, if the nature of the subject*1505  matter so accepted requires, to file the necessary patent applications thereon at its own *467  expense.  Should the Licensor fail to exercise its option, the Licensee shall retain full rights thereto.  On the same date Technicraft executed a similar agreement granting to the Lane-Wells Co. of Texas, a Texas corporation having a place of business at Houston, Texas, a "non-exclusive license in and throughout the States of Texas, Louisiana, Mississippi, Arkansas and New Mexico." The Texas corporation had been engaged in the business of gun perforating since September or October 1935.  The Lane-Wells Co. of California, the Lane-Wells Co. of Texas, and the Lane-Wells Co. of Oklahoma each did a merchandise and oil field service business in their respective areas of operation.  The business included the operation of a gun perforator, a strata-graph, which recorded by electricity the various formations underground, a fishing magnet, and fishing tools.  Technicraft conducted experiments, purchased test instruments, and built models of devices, some of which were sold to the Lane-Wells Co. of California.  Lane and Wells and employees of Technicraft assigned more than 50 patents to*1506 Technicraft.  Technicraft owned at least 19 abandoned and unfiled inventions and in 1937 it had from 85 to 100 patents or patent applications which it was furnishing to the Lane-Wells companies on June 1, 1937, and of which 7 or 8 related to the basic principle of the Mims patent.  The purpose of the gun perforator is to make holes in pipe underground by shooting bullets horizontally through the casing and formations back of the casing after the gun has been lowered into a well by means of an electric cable which is operated from a truck with a pulley and hoist.  At first the gun was used to perforate oil sands that had formerly been considered not worth while but many new uses for the gun have since been developed.  The method enables perforation anywhere in the well.  Technicraft developed the type of truck used in the gun perforation business.  It permits use of the truck motor for hoisting.  Technicraft also developed a brake for lowering the cable, a control panel, a throttle, an armature to indicate speed, a weight indicator, bridging plugs, pumping units, a fishing magnet, a device for measuring cable, a loud speaker for voice communication between the truck and the derrick*1507  floor of the well, a packing gland, which was a safety device to prevent the escape of gas or oil, a method of using an X-ray machine on cable to determine deterioration, and safety switches to prevent accidental firing of the gun.  A strata-graph developed by Technicraft from November 1935 through the middle of 1937 at an expense of between $50,000 and $60,000 was sold to the Lane-Wells companies but was finally abandoned, since it had no advantages over known geology.  The various Lane-Wells companies did not have research or engineering departments but left all research *468  to Technicraft.  Technicraft sold apparatus to the various Lane-Wells companies at cost plus a slight profit.  These sales of apparatus were never in any large amount in any taxable year.  As the Lane-Wells companies developed manufacturing facilities, they took over manufacture.  The merchandise sales were included on Technicraft's return as royalties.  The amounts so included were small and the exact amounts are not given separately in the returns.  In 1936 Technicraft occupied a building which was designed for it and contained electrical and chemical laboratories, offices for engineers, and an X-ray*1508  room.  It would not have been possible to conduct a successful gun perforation business with the Mims patent alone, since it was merely a basic patent covering the idea of lowering a gun into a well and shooting a bullet horizontally to perforate the casing and made no provision for withstanding the explosion, for sealing the powder, and for satisfactorily lowering and raising the gun.  Technicraft developed a method of delayed fire, of sealing the gun, and a cable for lowering and raising the gun.  The cable contained in its center a copper line for conveying electricity.  These improvements by Technicraft made the gun perforator far more serviceable and valuable than was the gun perforator covered by the original Mims patent.  When the original exclusive license agreement was made with Mims by the Lane-Wells Co. of California on December 21, 1932, Lane and Wells agreed between themselves to set aside 15 percent of the income of the Lane-Wells Co. of California for research and development.  No additional charge was made aside from the 15 percent of gross receipts provided for in the sublicense agreement with the Lane-Wells Co. of California and the license agreements with the*1509  Lane-Wells Co. of Texas and the Lane-Wells Co. of Oklahoma, although improvements were made by Technicraft on packers assigned to it by the Lane-Wells Co. of California.  There was no license agreement between Technicraft and Lane-Wells International, Inc., a California corporation operating in foreign countries, but Technicraft collected 15 percent of the gross receipts of Lane-Wells International, Inc., from gun perforation, as it did from the other Lane-Wells companies.  The license agreements of Technicraft with the Lane-Wells Co. of Texas and the Lane-Wells Co. of Oklahoma expired in February 1937, and although no new agreements were executed those companies continued to pay 15 percent of their gross receipts from gun perforation to Technicraft until it was merged with the Lane-Wells Co. of Delaware.  Throughout the time during which Technicraft was doing business all of its stock and all of the stock of the Lane-Wells Co. of California was owned by W. G. Lane, W. T. Wells, and their wives.  They also owned all of the stock of the Lane-Wells Co. of Oklahoma, the Lane-Wells *469  Co. of Texas, and Lane-Wells International, Inc., and Alexander Anderson, Inc., a California*1510  corporation.  Lane and Wells were directors and officers of the various companies.  In 1936 Lane and Wells discussed with an attorney, a broker, and an accountant a proposed reorganization of Technicraft and the various Lane-Wells companies into a new corporation, to be known as the "Lane-Wells Company", a Delaware corporation, and on June 1, 1937, a reorganization agreement was signed by Lane and Wells and their wives and by officers of Technicraft, the various Lane-Wells companies, including the new Delaware corporation, and Alexander Anderson, Inc.  The reorganization agreement provided in part: FIRST: It is hereby stated and agreed that the stockholders shall surrender all of their stock in each and all of the constituent companies to Delaware company in exchange for such proportionate share of an issue of 250,000 shares of the Delaware company, the receipt of which will leave said stockholders and each of them in proportionately and substantially the same position with reference to the Delaware company as is now held by each and all of them in the various constituent companies.  SECOND: It is hereby agreed and stated that the Delaware company shall forthwith secure the necessary*1511  legal permission to issue 250,000 shares of its authorized capital of 500,000 shares of no par value stock for the purpose of transferring and exchanging the same for all the stock in the various constituent companies, such exchange of stock to take place upon such legal permission being secured.  THIRD: It is understood and agreed that the amount of stock of the Delaware company that is to be received by each of the stockholders is to be determined by the proportion of the value of the stock of each of the stockholders to the aggregate value of all of the stock of the constituent companies.  It is intended that by the term "value" hereinafter and hereinbefore used, shall be meant the book value of the stock of each of the companies as of the date of June 1st, 1937, and which book value shall be determined by a certified public accountant from the books of the constituent companies.  On July 22, 1937, a permit was granted by the State Corporation Department of California authorizing the new Delaware corporation to issue 250,000 shares of stock to Wells and Lane and their wives in consideration for the transfer of all of the stock of the various Lane-Wells companies.  The stock*1512  was actually issued by the new Delaware corporation to Wells and Lane and their wives in equal proportions on July 29, 1937.  Technicraft, on July 29, 1937, issued its certificate No. 7 for 25,000 shares of stock, being all of its issued and outstanding capital stock, to the new Delaware corporation.  The certificate was based upon the reissuance of the certificates formerly held by Wells and Lane and their wives.  Immediately after the execution of the reorganization agreement negotiations were entered into with brokers for the sale of 60,000 shares of stock of the new corporation to the public and in August 1937 an agreement with the brokers was made under which the brokers, as agents, offered to the public in October 1937 and later sold 60,000 shares.  *470  In July 1937 the president and the secretary of Technicraft executed two separate assignments of Technicraft's assets to the new corporation.  Technicraft's board of directors, by a resolution on August 27, 1927, directed the transfer of its assets.  The assets were actually transferred at various times when the necessary documents were filed and recorded.  On Technicraft's books the transfer of all the assets was*1513  recorded as of August 31, 1937.  Technicraft's books in 1937 showed net profits for the months through August, before adjustments for taxes, as follows: Five months ended May 31$65,270.52June16,861.44July16,873.36August13,598.76Total112,604.08In 1937 Technicraft's balance sheets at the end of each month from May through August showed total assets in excess of total liabilities as follows: May 31$135,052.52June 30151,913.96July 31168,787.32August 31155,660.84On October 22, 1937, a certificate of winding up and dissolution of Technicraft, stating that the corporation had been completely wound up, that all its known assets had been distributed, and that taxes and all other known debts and liabilities had been paid or provided for, was filed by its directors with the Secretary of State of the State of California.  Technicraft filed its corporation income and excess profits tax returns on Form 1120 for 1934 on or about March 15, 1935; for 1935, on or about March 15, 1936; for 1936, on or about March 15, 1937; and for 1937, on or about March 15, 1938.  Technicraft's return for 1934 reported gross income from royalties*1514  of $27,125.23 and total deductions of $11,392.24, leaving a net income of $15,732.99.  Its return for 1935 reported "gross profits where inventories are not an income determining factor", $69,577.19, and discounts, $13.90, making a total gross income of $69,591.90.  Total deductions were taken on the return of $21,562.89, leaving net income of $48,028.20.  Its return for 1936 reported gross income from interest, $822.01; rents, $2,500; and from royalties, $145,113.73; discounts, $92.08, making a total gross income of $148,527.82.  From this gross income, total deductions of $37,067.31 were taken, leaving net income of $111,460.51.  Its return for the year 1937, covering the period from January 1 to August 31, 1937, showed gross income from interest, $225.98; rents, $8,000 royalties, $157,932.24; and discounts *471  $42.19, making gross income of $166,200.41.  From this gross income, deductions were taken of $46,768.17, leaving net income of $119,432.24.  Technicraft, in its return for 1934, stated it was in the engineering business; in its 1935 return stated its business was "engineering development"; in its 1936 return stated its business was "research and engineering"; and*1515  on its 1937 return stated its business was "research and engineering." Technicraft did not file personal holding surtax returns on Form 1120 H for either 1934, 1935, 1936, or 1937.  Technicraft's income tax returns were prepared by its accountant or his assistants and were signed by Wells as president and by Technicraft's secretary.  The accountant, in addition to his work as a certified public accountant, also engaged in tax work and gave Technicraft his opinion that it was not a personal holding company.  He had conferences with representatives of the Bureau of Internal Revenue and gave them access to Technicraft's books and records.  On June 19, 1937, Technicraft received a refund of $278.37 in respect of income and excess profits taxes paid by it for 1935 and at that time the Commissioner made no claim that Technicraft was a personal holding company.  It is stipulated that petitioner Lane-Wells Co. is liable as a transferee for any taxes which may be found to be due from Technicraft.  OPINION.  BLACK: Issues (a) and (b). - These two assignments of error raise essentially the same issue, which is that the Commissioner erred in his determination in the notice of deficiency*1516  that Technicraft was a "personal holding company" as defined in section 351(b)(1) of the Revenue Acts of 1934 and 1936, and section 352(a) of the Revenue Act of 1936 as amended by section 1 of the Revenue Act of 1937, 1 and that it was subject to the surtax imposed by section *472  351(a) of the Revenue Acts of 1934 and 1936 and by section 351 of the Revenue Act of 1936 as amended.  Petitioners contend that the amounts of Technicraft's income designated on its income tax returns as "royalties" were in fact compensation for tangible services rendered to affiliated corporations and did not constitute "personal holding company" income.  *1517  All of the license agreements in evidence apply the term "royalty" to the amounts paid to Technicraft thereunder, although the terms of the licenses vary as to the exact nature of the consideration for which the payments were made.  Technicraft granted to the Lane-Wells Co. of California merely "any and all rights, privileges and remedies" which Technicraft "might or could do, exercise or perform" under the assignment of the exclusive license to use and sell devices, embodying the Mims patent, but it is quite clear from the language of the other two license agreements that the "royalty payments" thereunder were not confined to receipts from the use of the Mims patent alone.  Under each of the license agreements with the Lane-Wells Co. of Oklahoma and the Lane-Wells Co. of Texas, Technicraft granted a nonexclusive license "to make or purchase for the Licensee's own use only, and to use but not to sell, rent, or lease to others said PERFORATORS." In those agreements the term "perforators" was broadly defined "to mean not only the patent specifically mentioned hereinbefore, but also any and all inventions, applications, patents and any continuations, divisions, and/or reissues thereof*1518  and whether in the nature of apparatus or processes which the licensor now owns or controls or which it may at any time during the life of this agreement own or control and which relate or are accessories to said PERFORATORS." The agreements provided that "The royalty payments on the PATENT RIGHTS herein licensed shall be fifteen percent (15%) of the gross receipts; minimum royalties shall be not less than Seven Hundred and Fifty dollars ($750.00) per month", that "The term %'patent rights'/ shall be construed to embrace as a group all the patents and applications herein specified or referred to or implied", and that "The term 'gross receipts' shall be construed to mean the total receipts derived in any manner whatsoever from the manufacture and/or use of any and all apparatus or processes covered by said PATENT RIGHTS without deductions of any kind or character." Under the license agreements with the Lane-Wells Co. of Texas and the Lane-Wells Co. of Oklahoma, Technicraft was the grantor of the patents and applications used by the Lane-Wells companies.  The payments received by it were proportionate to the use of the patents and applications, since the payments were 15 percent of*1519  the gross receipts from any and all inventions, applications, and patents which related or were accessories to the perforators.  The *473  payments thus fall clearly within the definition of "royalty" given in Black's Law Dictionary, 3d. ed., as "A payment reserved by the grantor of a patent, lease of a mine, or similar right, and payable proportionately to the use made of the right by the grantee." This definition is well supported by authority.  Western Union Telegraph Co. v. American Bell Telephone Co.,125 Fed. 342; In re Elsner's Will,206 N.Y.S. 765"&gt;206 N.Y.S. 765; Bellport v. Harrison, 123 Kans. 310; 255 Pac. 52; Volk v. Volk Manufacturing Co.,101 Conn. 594"&gt;101 Conn. 594; 126 Atl. 847; Kiesau Petroleum Corporation,42 B.T.A. 69"&gt;42 B.T.A. 69. It seems clear that some of the payments made to Technicraft were not covered by express license agreements.  For example, Technicraft had no license agreement at all with Lane-Wells International, Inc., although it collected 15 percent of that corporation's gross receipts from gun perforation.  In February 1937 Technicraft's craft's agreements with*1520  the Lane-Wells Co. of Texas and the Lane-Wells Co. of Oklahoma expired, but those corporations continued to pay to Technicraft 15 percent of their gross receipts from gun perforation.  The facts further show that on June 1, 1937, Technicraft was furnishing the Lane-Wells companies with from 85 to 100 patents or patent applications, of which only 7 or 8 related to the basic principle of the Mims patent.  In their argument that the payments in question did not constitute royalties, petitioner rely on Kiesau Petroleum Corporation, supra, wherein a certain percentage of the proceeds from the sale of oil received by a taxpayer under contracts with lessees of oil producing land in return for equipment was held not "derived from royalties" within the meaning of section 351(b)(1) of the Revenue Acts of 1934 and 1936 and the taxpayer was held not to be a personal holding company.  The Board held that under the contracts the taxpayer "did not reserve an interest in the oil producing properties; it acquired such an interest for the first time." The instant case is clearly distinguishable, since Technicraft had an interest in patents and applications and under the license agreements*1521  "reserved" an interest rather than "acquiring" it for the first time, and in those cases where there were no license agreements it seems clear that the nature of the income was the same.  Petitioners also rely upon Affiliated Enterprises, Inc.,42 B.T.A. 390"&gt;42 B.T.A. 390, wherein the taxpayer operated a sales promotion plan, known as "bank night", which was not and could not be patented or copyrighted, except for some instruction sheets which were copyrighted.  The taxpayer provided a few simple articles to execute the idea, derived income in the form of a flat sum weekly payment from "license agreements" with theatre operators, and was held not to be a personal holding company, since its income was not derived from royalties.  The case is distinguishable in that Technicraft owned patents *474  and applications, many of which were patentable, and received not a flat sum, but 15 percent of the gross receipts derived by each Lane-Wells company from the use of such patents and applications in gun perforation.  Moreover, it has been held that the term "royalty" may be applied to receipts derived in respect of nonpatentable improvements.  *1522 Volk v. Volk Manufacturing Co., supra.Petitioners have not shown what portion of Technicraft's income, if any, was derived from engineering services or from nonpatentable devices, as distinguished from patents, and they have not shown the amounts derived under the written license agreements, as distinguished from the amounts received from Lane-Wells International, Inc., and from the Lane-Wells Co. of Texas and the Lane-Wells Co. of Oklahoma after the written license agreements had expired in February 1937.  Although Technicraft furnished the Lane-Wells companies with from 85 to 100 patents or applications, of which only 7 or 8 related to the basic principle of the Mims patent, petitioners have not shown what portion of the amounts received by Technicraft was consideration for patents related to the basic principle of the Mims patent.  The facts show that on its books for all the years involved and on its income tax returns for 1934, 1936, and 1937, Technicraft treated the payments made to it as royalties.  We agree, of course, with petitioners that merely calling these receipts "royalties" in the license agreements and on petitioner's books would not make them*1523  "royalties" if, in fact, the evidence showed that they were something else.  However, for reasons already stated, we think these payments were "royalties" within the meaning of the applicable revenue act.  These amounts did not constitute royalties merely to the extent of an amount equal to the $200 per month paid by Technicraft for the Mims patent, as petitioners suggest, since the payments to Technicraft were not made solely for the use of the Mims patent, which by itself was not very valuable.  It was the improvements and developments to the basic Mims patent, conceived and carried out by Technicraft, which made its use of great value.  Manifestly the chief business purpose of Technicraft was to improve and develop the Mims patent and other patents and devices used in the oil business by the Lane-Wells companies.  For the use of these patents and devices and their improvements, it received 15 percent of the gross receipts of the different Lane-Wells companies which they in turn received from the gun perforating business.  These were none the less royalties, we think, even though they were not received in anything like their entirety for the use of the basic Mims patent.  *1524  Therefore, the payments received by Technicraft must be held to be "royalties" within section 351(b)(1) of the Revenue Acts of 1934 and 1936, and, since petitioners do not contest the fact that Technicraft*475  otherwise falls within the definition of a "personal holding company" for the taxable years 1934, 1935, and 1936, the respondent's position as to those years is sustained.  Logan Coal &amp; Timber Association,42 B.T.A. 529"&gt;42 B.T.A. 529. The payments were also "royalties" within section 353(a) of the Revenue Act of 1936, as amended by section 1 of the Revenue Act of 1937, but an additional objection is raised by petitioners in respect of taxability for 1937. Issues (i) and (j). - Petitioners contend that even if Technicraft be considered a personal holding company in the years 1934 through 1936, it could not have been a personal holding company in 1937 "for the reason that during the latter half of 1937, it had neither assets nor income, and 50% or more of its stock was not held by less than five individuals or their families." Section 352(a) of the Revenue Act of 1936, as amended by section 1 of the Revenue Act of 1937, includes in the definition of "personal*1525  holding company" any corporation if at least 80 percent of its gross income is personal holding company income and, in addition: At any time during the last half of the taxable year more than 50 per centum in value of its outstanding stock is owned, directly or indirectly, by or for not more than five individuals.  The question in issue hinges upon the meaning of "at any time during the last half of the taxable year." Section 357 of the Revenue Act of 1936, as amended, provides that "The terms used in this title shall have the same meaning as when used in Title I", and section 48 of Title I of the Revenue Act of 1936 provides, in part: When used in this title - (a) TAXABLE YEAR. - "Taxable year" means the calendar year, or the fiscal year ending during such calendar year, upon the basis of which the net income is computed under this Part.  "Taxable year" includes, in the case of a return made for a fractional part of a year under the provisions of this title or under regulations prescribed by the Commissioner with the approval of the Secretary, the period for which such return is made.  Technicraft's income tax return for 1937 was filed for the period which began January 1, 1937, and*1526  ended August 31, 1937.  If "the taxable year", for purposes of determining whether Technicraft falls within the definition of a "personal holding company" in section 352(a) of the Revenue Act of 1936, as amended, is held to be the fractional part of a year from January 1, 1937, to August 31, 1937, for which the income tax return was filed, then Technicraft falls within the statutory definition of a "personal holding company", since at least as late as May 31, 1937, more than 50 percent of Technicraft's outstanding stock was owned directly, or indirectly, by or for not more than five individuals.  But no personal holding company return appears to have been filed by Technicraft and the parties in arguing this point in their briefs *476  appear to have considered the taxable year in question as the calendar year ended December 31, 1937.  The deficiency notice determined personal holding company surtax liability "for the taxable years ended * * * December 31, 1937" and, in the explanation of adjustments to net income, stated: The return filed for the taxable year purports to account for the taxable income for the period from January 1 to August 31, 1937; after which latter date*1527  the business of your corporation was taken over and its activities conducted by Lane-Wells Company, pursuant to an agreement for reorganization entered into on or about June 1, 1937.  The contention made in your protest, that the said return erroneously accounted for income accruing after June 1, 1937 which should have been returned by the successor corporation, is denied for the reason that the transfer of your assets and business was not effected at the time indicated in your protest and the items of income and deduction involved were properly reflected in your books and return.  In Technicraft's petition the taxable year is treated as ending December 31, 1937, and petitioner alleged as a fact that its "last taxable year was the calendar year 1937." If the entire calendar year 1937 is treated as "the taxable year" in this case, Technicraft meets the requirements for a "personal holding company" as set forth in section 352(a), as amended, since the facts clearly show that Technicraft continued to exits as a corporation and had stock outstanding in the names of Lane and Wells and their wives up until July 29, 1937.  The reorganization agreement whereby the stock of Technicraft*1528  and the other corporations owned by Lane and Wells and their wives and to be transferred to the Lane-Wells Co., the Delaware corporation, in return for shares of its stock was signed June 1, 1937.  It was not until July 22, 1937, however, that a permit was granted by the State Corporation Department of California authorizing the Delaware corporation to issue its stock.  The actual issuance took place a week later, July 29, 1937.  At that time Technicraft issued a new certificate of its shares to the Delaware corporation.  Not until that date was there a reorganization.  National Iron Works,22 B.T.A. 382"&gt;22 B.T.A. 382; A. T. Evans,30 B.T.A. 746"&gt;30 B.T.A. 746. The instant case is clearly distinguishable on its facts from Novo Trading Corporation v. Commissioner, 113 Fed.(2d) 320, urged as an authority by petitioners, wherein liquidation of a corporation was held effected so that refunds of import duties were not taxable to it although the certificate of dissolution which had been executed was never filed with the Secretary of State, since in that case at the time in question all the stock certificates had been canceled on the corporation's books and the*1529  corporation had completely ceased business activities.  *477  On the facts we hold that the Commissioner did not err in his determination that petitioner was a personal holding company for the year 1937.  This disposes of assignment of error (i) adversely to the contention of petitioners.  It likewise disposes of assignment of error (j) adversely to petitioners because that assignment of error is based upon the same contention as is made in support of assignment of error (i).  Issues (g) and (h). - In the notice of deficiency the Commissioner stated: The further contention raised in your protest, that you should be allowed a further dividends paid credit (not claimed in your return) on account of assets dostributed in complete liquidation, is denied for the reason that Article 27(f)-1 of Regulations 94 provides that no such credit is allowable in respect of nontaxable distributions.  Petitioners contend that, even if Technicraft could be construed to be a personal holding company, it nevertheless was entitled to a dividends paid credit for amounts distributed at the time of its reorganization to the extent that such distribution represented earned surplus, and that*1530  of the amounts distributed in the liquidation of Technicraft not less than $65,814.75 was properly chargeable to earnings and profits accumulated subsequent to February 28, 1913, and that it has overpaid its surtax on undistributed profits for 1937 in the sum of $10,248.87.  As we have already stated, all of Technicraft's assets were transferred in 1937 to the Lane-Wells Co. of Delaware, its sole stockholder, and both parties agree that there was a tax-free reorganization under section 112(b)(6) of the Revenue Act of 1936.  The parties agree that the question in issue depends upon whether subsection (f) of section 27 of the Revenue Act of 1936 2 is limited by subsection (h) 3 in computing the "dividends paid credit" which is to be deducted under section 355 of the Revenue Act of 1936, as amended by section 1 of the Revenue Act of 1937, from "adjusted net income" to determine the "undistributed adjusted net income" subject to surtax under section 351 of the Revenue Act of 1936, as amended.  *1531 In Credit Alliance Corporation,42 B.T.A. 1020"&gt;42 B.T.A. 1020, the Board decided a similar question in accordance with the views of petitioners in this case and we now follow that decision.  On the issue raised by these assignments of error, the Commissioner's determination was *478  in error, but cf. Centennial Oil Co. v. Thomas, 109 Fed.(2d) 359; certiorari denied, 309 U.S. 690"&gt;309 U.S. 690. From petitioner's exhibit 28, introduced in evidence by agreement between the parties, Technicraft's earned surplus, at the time of its merger with the Lane-Wells Co. of Delaware, August 31, 1937, was $55,660.84 and not $65,814.75 as alleged in its assignment of error.  The correct amount of Technicraft's earned surplus transferred to the Lane-Wells Co. of Delaware in the reorganization should be used in a recomputation under Rule 50.  Issues (e) and (f). - Petitioners in assignments of error (e) and (f) contend that the three-year period of limitations contained in section 275(a) of the Revenue Act of 1934 has run for the years 1934 and 1935.  The facts show that on March 15, 1935, and March 16, 1936, respectively, Technicraft filed its corporation income*1532  and excess profits tax returns on Form 1120 for the calendar years 1934 and 1935, respectively.  These returns appear to be full and complete, aside from some minor adjustments which the Commissioner made in his determination of the deficiencies.  Technicraft answered "No" to the following question appearing on the face of both returns: Is the Corporation a personal holding company within the meaning of Section 351 of the Revenue Act of 1934? - (If so, an additional return on Form 1120H must be filed.) Technicraft did not file any returns on Form 1120 H because, in good faith, it did not believe it was a personal holding company.  The respondent's deficiency notice is dated June 1, 1939, which is over four years and two months after the 1934 return was filed on Form 1120 and over three years and two months after the 1935 return was filed on Form 1120.  He contends that the statute never commenced to run, for the sole and only reason that no returns were filed on Form 1120 H, and relies upon section 276(a) of the Revenue Act of 1934, which provides that in the case "of a failure to file a return the tax may be assessed * * * at any time." Section 275(a) of the Revenue Act of*1533  1934 provides that the tax imposed by Title I "shall be assessed within three years after the return was filed * * *." Section 351(c) provides: (c) ADMINISTRATIVE PROVISIONS. - All provisions of law (including penalties) applicable in respect of the taxes imposed by Title I of this Act, shall insofar as not inconsistent with this section, be applicable in respect of the tax imposed by this section, except that the provisions of section 131 of that title shall not be applicable.  Article 351-8 of Regulations 86, promulgated under the Revenue Act of 1934, in so far as is material, provides: ART. 351-8.  Return and payment of tax. - A separate return is required for the surtax imposed under section 351.  Such return shall be made on Form 1120H.  * * * The same provisions of law relating to the period of limitation *479  for assessment and collection which govern the taxes imposed by Title I also apply to the surtax imposed under Title IA.  However, since the surtax imposed under Title IA is a distinct and separate tax from those imposed under Title I, the making of a return under Title I will not start the period of limitation for assessment of the surtax imposed by Title*1534  IA.  If the corporation subject to section 351 fails to make a return, the tax may be assessed at any time.  * * * The administrative provisions applicable to the surtax imposed by section 351 are not confined to those contained in Title I but embrace all administrative provisions of law which have any application to income taxes.  The returns filed on Form 1120 were made under Title I.  Petitioner, in support of its contention that the statute has run, relies upon Germantown Trust Co. v. Commissioner,309 U.S. 304"&gt;309 U.S. 304. In that case a trustee in charge of a certain fund filed a return as a trust on Form 1041.  After the statute had run for assessing an additional tax against the trust, the Commissioner determined that the fund was an association taxable as a corporation and that, since no return had been filed on Form 1120 as an association taxable as a corporation, as required by section 52 of the Revenue Act of 1932 and article 391 of Regulations 77, he was not barred from assessing the determined deficiency against the trustee in charge of the fund.  The Supreme Court held that the return on Form 1041 was a return within the meaning of section 275(a) of the*1535  Revenue Act of 1932, and that the proposed deficiency in that case was barred by the statute of limitations.  Among other things, the Court said: The respondent's contention is that where a fiduciary, in good faith, makes what it deems the appropriate return, which discloses all of the data from which the tax, treated as one imposed upon an association (classified as a corporation under the statute), can be computed, such a return is to be deemed no return.  We think this view inadmissible.  It cannot be said that the petitioner, whether treated as a corporation or not, made no return of the tax imposed by the statute.  Its return may have been incomplete in that it failed to compute a tax, but this defect falls short of rendering it no return whatever.  At the conclusion of the foregoing language the Court in a footnote cited the following cases: Zellerbach Paper Co. v. Helvering,293 U.S. 172"&gt;293 U.S. 172; Commissioner v. Stetson &amp; Ellison Co., 43 Fed.(2d) 553; United States v. Tillinghast, 69 Fed.(2d) 718; *1536 Abraham Werbelovsky,8 B.T.A. 442"&gt;8 B.T.A. 442; Estate of F. M. Stearns,16 B.T.A. 889"&gt;16 B.T.A. 889; J. R. Brewer,17 B.T.A. 704"&gt;17 B.T.A. 704. We think the instant case is distinguishable from the Germantown Trust Co. case, supra. In that case both the returns on Form 1041 and 1120 dealt with in the opinion were what might be properly termed Title I returns.  The tax involved was a Title I income tax.  In the instant case the tax involved is a Title IA tax.  Treasury Regulations 86, article 351-8, above quoted, states: * * * However, since the surtax imposed under Title IA is a distinct and separate tax from those imposed under Title I, the making of a return *480  under Title I will not start the period of limitation for assessment of the surtax imposed under Title IA.  Is the above regulation a valid one?  We think it is.  In Blenheim Co., Ltd.,42 B.T.A. 1248"&gt;42 B.T.A. 1248, we held that the taxpayer was liable for a delinquency penalty of 25 percent in income tax deficiency for failure to file a return on Form 1120 for the normal income tax, although it had filed a return on Form 1120 H as a personal holding company.  In that case, among other things, *1537  we said: "Clearly, the normal and surtax here in dispute are separate and distinct taxes.  Revenue Act of 1934, Title I, Title I-A * * *." In Will County Title Co.,38 B.T.A. 1396"&gt;38 B.T.A. 1396, the Commissioner determined a deficiency in income tax for 1934 and an overassessment of excess profits tax greater than the amount of the deficiency in income tax, thus making a net overassessment of the two taxes.  On these facts we held that the petition for redetermination was within our jurisdiction in so far as it pertained to the deficiency in income tax, but not as to the overassessment in excess profits tax.  We based our decision upon the fact that "the two taxes are imposed by entirely separate provisions of the statute", the income tax by Title I and the excess profits tax by Title V, and are separate and distinct taxes.  To the same effect is Hobbs Western Co.,43 B.T.A. 5"&gt;43 B.T.A. 5. If the question of our jurisdiction is determined under certain circumstances by the character of the tax, then it is difficult to see how a return filed on Form 1120 under Title I of the Revenue Act of 1934 would start the running of the statute of limitations as to a separate and distinct*1538  tax imposed by Title IA of the Revenue Act of 1934, where no return has been filed by the taxpayer on Form 1120 H, as required by the Treasury regulations.  The two returns are quite different, as pointed out by us in Blenheim Co., Ltd., supra.We, therefore, hold that, since Technicraft did not file personal holding company returns on Form 1120 H, the statute of limitations has not run and the deficiencies in personal holding company surtax for the years 1934 and 1935 are not barred by the statute of limitations.  Issues (c) and (d). - In the notice of deficiency the Commissioner added a 25 percent penalty for each year as "mandatory" under section 291 of the Revenue Act of 1934, section 406 of the Revenue Act of 1935, and section 291 of the Revenue Act of 1936, for failure to file a personal holding company return.  Petitioners contend that this was error and that, although no personal holding company returns were filed on Form 1120 H, the returns filed contained all the necessary data to enable to Commissioner to compute petitioners' liability for personal holding company surtax.  In making this contention, petitioners also rely on *1539 Germantown Trust Co., supra, above discussed in connection with the statute of limitations *481  issue.  We think our discussion under the statute of limitations issue is equally applicable here.  In the Board's recent decision in Olean Times Publishing Co.,42 B.T.A. 1277"&gt;42 B.T.A. 1277, among other things, we said: Petitioner filed no personal holding company return, and hence the penalty of 25 percent imposed by the Revenue Act of 1936, section 291, is mandatory.  Reasonable cause is only effective to avoid the penalty if the return is delayed - not when the return is omitted entirely, Alex Holmstrom,35 B.T.A. 1092"&gt;35 B.T.A. 1092; dismissed, 94 Fed.(2d) 747; National Contracting Co. v. Commissioner, 105 Fed.(2d) 488. This is true as to a personal holding company return even though an income tax return has been filed, Collateral Mortgage &amp; Investment Co.,37 B.T.A. 630"&gt;37 B.T.A. 630; Rotorite Corporation,40 B.T.A. 1304"&gt;40 B.T.A. 1304 (on review C.C.A., 7th Cir.); *1540 Lone Pine Lawn Corporation,41 B.T.A. 638"&gt;41 B.T.A. 638 (on review C.C.A., 2d Cir.). On the issue as to delinquency penalties, we sustain the Commissioner.  See Noteman v. Welch, 108 Fed.(2d) 206. Issue (k). - Petitioners do not press issue (k) in their brief and it will be considered as abandoned.  This assignment of error raised the issue that the Commissioner was estopped by his past acts and conduct from asserting any claim of liability against Technicraft for surtax on personal holding company or penalties thereon.  Even if the issue be not considered as abandoned, it is clear that the evidence in the record does not sustain it.  There is nothing to show that the Commissioner is estopped.  Reviewed by the Board.  Decision will be entered under Rule 50.VAN FOSSAN VAN FOSSAN, dissenting: I believe this case is controlled by the decision of the Supreme Court in Germantown Trust Co. v. Commissioner,309 U.S. 304"&gt;309 U.S. 304. Footnotes1. SEC. 351.  SURTAX ON PERSONAL HOLDING COMPANIES.  * * * (b) DEFINITIONS. - As used in this title - (1) The term "personal holding company" means any corporation * * * if - (a) at least 80 per centum of its gross income for the taxable year is derived from royalties, * * * and (B) at any time during the last half of the taxable year more than 50 per centum in value of its outstanding stock is owned, directly or indirectly, by or for not more than five individuals.  * * * SEC. 352.  DEFINITION OF PERSONAL HOLDING COMPANY.  (a) GENERAL RULE. - For the purposes of this and of Title I the term "personal holding company" means any corporation if - (1) GROSS INCOME REQUIREMENT. - At least 80 per centum of its gross income for the taxable year is personal holding company income as defined in section 353; * * * (2) STOCK OWNERSHIP REQUIREMENT. - At any time during the last half of the taxable year more than 50 per centum in value of its outstanding stock is owned, directly or indirectly, by or for not more than five individuals. ↩2. (f) DISTRIBUTION IN LIQUIDATION. - In the case of amounts distributed in liquidation the part of such distribution which is properly chargeable to the earnings or profits accumulated after February 28, 1913, shall, for the purposes of computing the dividends paid credit under this section, be treated as a taxable dividend paid.  ↩3. (h) NONTAXABLE DISTRIBUTIONS. - If any part of a distribution (including stock dividends and stock rights) is not a taxable dividend in the hands of such of the shareholders as are subject to taxation under this title for the period in which the distribution is made, no dividends paid credit shall be allowed with respect to such part. ↩